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5
6    Attorneys for Defendant
     JAIRO ZAPIEN
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. S 10-162 JAM
12                             Plaintiff,                 STIPULATED MOTION AND ORDER TO
                                                          REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)
14   JAIRO ZAPIEN,                                        RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable JOHN A. MENDEZ
16
17             Defendant, JAIRO ZAPIEN by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On November 19, 2013, this Court sentenced Mr. Zapien to a term of 87 months

25   imprisonment;

26             3.         His total offense level was 29, his criminal history category was III, the resulting

27   guideline range was 108 to 135 months, and he received a reduction from the low end of the

28   applicable guideline range on the government’s motion;

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1              4.         The sentencing range applicable to Mr. Zapien was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Zapien’s total offense level has been reduced from 29 to 27, and his amended
5    guideline range is 87 to 108 months; a reduction comparable to the one received at the initial
6    sentencing would produce a term of 70 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Zapien’s term of imprisonment to 70 months.
9    Respectfully submitted,
10   Dated: July 9, 2015                                Dated: July 9, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt                                    /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JAIRO ZAPIEN
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                        ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Zapien is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
6    guideline range of 87 to 108 months. A reduction comparable to the one received at the initial
7    sentencing would produce a term of 70 months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in November 2013 is
9    reduced to a term of 70 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Zapien shall report to the United States Probation Office
15   within seventy-two hours after his release.
16   Dated: July 10, 2015
17                                                  /s/ John A. Mendez______________
18                                                  HONORABLE JOHN A. MENDEZ____
                                                    United States District Court Judge
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                                                    _____________________________________
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     Stipulation and Order Re: Sentence Reduction            3
